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FILED

UNITED STATES DISTRICT COURT FOR THE JAN 1 6 2025
SOUTHERN DISTRICT OF WEST VIRGINIA
CHARLESTON

RORY L. PERRY Il, CLERK
U.S. District Court
Southern District of West Virginla

UNITED STATES OF AMERICA

%. CRIMINAL No. 2. 2S “Cr- LL
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MICHAEL P. BARKER

The United States Attorney Charges:

Between November 7, 2023, through and until at least November
28, 2023, at or near Danville, Boone County, West Virginia, and within
the Southern District of West Virginia, defendant MICHAEL P. BARKER,
aided and abetted by others both known and unknown to the United
States Attorney, did knowingly and for the purpose of evading the
reporting requirements of 31 U.S.C § 5313(a), and the regulations
promulgated thereunder, structure, assist in structuring, and attempt
to structure and assist in structuring, transactions with United
National Bank and Truist Bank, both domestic financial institutions
as defined by 31 U.S.C. § 5312.

In violation of Title 31, United States Code, Section 5324 (a) (3)

and Title 18, United States Code, Section 2.
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NOTICE OF FORFEITURE

The allegations contained in the single-count Information is
hereby realleged and incorporated by reference for the purpose of
alleging forfeitures pursuant to 31 U.S.C. § 5317(c) (1), 21 U.S.C. §
853 and 28 U.S.C. § 2461.

Pursuant to 31 U.S.C. § 5317(c) (1), 21 U.S.C. § 853, 28 U.S.C.
§ 2461 and Rule 32.2 of the Federal Rules of Criminal Procedure, upon
conviction of the offenses in violation of 31 U.S.C. § 5324 (A) (3), as
set forth in Count 1 of this Information, defendant MICHAEL P. BARKER
shall forfeit to the United States of America, any property, real or
personal, involved in the offense and any property traceable thereto.
The property to be forfeited includes, but is not limited to, a money
judgment in the amount of at least $97,215.00, such amount
constituting property involved in the offense set forth in this
Information, and real property located at 40 Opal Place, Foster WV
25081.

If any of the property described above, as a result of any act

or omission of the defendant:
a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a
third party;

c. has been placed beyond the jurisdiction of the court;
d. has been substantially diminished in value; or
e. has been commingled. with other property which cannot

be divided without difficulty,
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the United States of America shall be entitled to -forfeiture of
substitute property pursuant to 21 U.S.C. § 853(p), as incorporated
by 31 U.S.C. § 5317(c) (1) (B) and 28 U.S.C. § 2461.
All pursuant to Title 31, United States Code, Section 5317 (c) (1)
and Title 28, United States Code, Section 2461.
UNITED STATES OF AMERICA

WILLIAM S. THOMPSON
United States Attorney

By: 3d ae

Gabriel C. Price
Assistant United States Attorney

